        Case 2:19-cv-09906-PA-SHK Document 1 Filed 11/19/19 Page 1 of 8 Page ID #:1
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     Donta Ledeal Kyle
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  ca.i.~irrre~ ~:~~ir rrd~n~~~~~~~~
                                                                                                                      ~F~          DfSTRICT OF CAIIFORAIIA
                                                                                                                      BY
     Mule Creek State Prison                                                                                                                       DEPtlT'f
  PULL ADDRLtiS IA'CLCDI?:G ~'~AU6 OI' I~STITG'iION

    P.O. Box: 409020 Ione, Calif. 95640.
     ~rG-09695
  P ltlso~ Nl.:~~Ll~r. iii ,pplical~lei
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                                                      UNITED STATES DISTRICT COURT
                                                     C~NTI~L DISTRICT OF CALIFORNI.~
                                                                                       casE ~r          e                                                   _~~-,~ly
     Donta Ledeal Kyle                                                                                                                                              IC
                                                                                                                            Ta G~ s»ppllcd L,r ilir Clerk

                                                                      PLATN7~IFF.
                                           `~                             P.IGHTS CO~tiIPLAINT          CIVIL
    L.A.D.P., Harris Corporation~City
                                                            ~         PURSUANT   TO ~c~,«~ti ~,~~>>
    of Los Angeles, Darnisha Hardmen,                    ❑ 4. U.S.C. ~ 1953
    aid- Gary_Sproull ~~, ~~'~~c~rt 6;-~.~~DGFENDAVT(S).                               ~1 Bivens v. Six Un{;no~~ n A`ents -~03 U.S. 358 (1971)

A. PR~t'dOUS L:#~4G'SI.~ITS

       ~.          :- S0~ ~ ~i'C~L~~~~L' ~lil: l~Cl li'r i;~. ~ ~;I,S 1111 ~Zl~ZC1~ COUfI1-V~ll~~ 8 ~Jf'15011~!'~ ICJ ~~~5
             F~~:''~l                                                                                                            ❑ ~~O


      _.      ~( ~.i)lll' aii:StV~rtl' TO "~ .~ iS 1~~~. 31U1V r1711V~~


             D~~;;ri~-~c t~l:~~ I,~~.~~~uii in t~~~e s:,~,~ce beiu~~~. (IFthere is more than one lawsuit, d~scrib~ the additional la~~~;uils on an
             att~aehe~l piece of paper a i❑~~ tllr same outline.) Same facts stated in this one..




                            R ECEIVED COURT
                    CLERK.U.S. DISTRICT


                             NOV 1 8 2019
                   = NTRAI DISTRICT OF CAL~~OFi~




                                                                      CIV~lL RIGICf~ Cl)~II'1_-1f~'I'
C~~-ho (7.971
         Case 2:19-cv-09906-PA-SHK Document 1 Filed 11/19/19 Page 2 of 8 Page ID #:2


              a. Parties to this previous la~~~suit:
                   Plaintiff Donta Ledeal Kyle


                   Defendants ~D, City of Los Angeles and Harris Corporation


              h. Court astern District of California.


              c. Docket or case number 2:19—CV-01720—TLN—AC.
              d. Name ofjudge to ~4hom case vas assi«ned_ Troy L. Nunley
              e.   Dis~~osition (For example: Was the case dismissed? [f so; ~~~hat vas the bads For dismissal'? Vas it
                   appealed'? is it still pending,?j Dismissed as frivilous
             f. [sues raised: Violation of my Constitutional Rights to privacy in my Fourth
                 Amendment.


              ~~. Approximate date of fil in~~ la~,vsuit: 9-3-19.
             h. Approximate date of disposition         10-2-19.


~. E`CHAU5T1{~~ (3~~ ,-~ir~3l~ti~ST'~2~TIV~ F.Gi~I~DI~S

             fs there a ~~rie~~:Z~~c~ E~rocedure available at the institution ~.~~here tl~e events relatini7 to your current complaint
             occurred? ~' Y'~s ❑ Nu

      2. Ffav~ you fil~ci a ,~a~ievai~c~ coni:ernii~~~ the facts relating to yo~ir c~irrent coinpl~int'? ❑Yes                      Ll No

             If your answer is no, erpl~i,~ ~vhv not I checked with CDC and they made it clear they
              knew nothing about this stingray device.


      3. [s the ~rrievai~ce procedure completed? ❑Yes                 ❑ No

            [f your answer is no, explain ~vl~v not See above.



      ~. Please attach copies of papers related to the ~rievaiice procedure.

C. JURISD[CTION

      This complaint alleles that the civil rights of plaintiff Donta Kyle
                                                                                                      (print plainti[~1's n:une)
      ~vho presently resides at Mule Creek State Prison P.O. Box: 409020 Ione, Calif. 95640.
                                                                     ~ ii~:uling a ~ ress or place of co~itin~meiti)
      were violated by the actions of the defzncl<int(s) named belo~~, which actions were directed a,ainst
                                                                                                           plaintifEat
       Mule Creek State Prison
                                                    (in~htuCion;city ~~here viotatioii occurred)


                                                          C1~ II. Rf(:fll~~ CO~fPI.:AfS'~'
L V-~;~i r', 971
                                                                                                                                           f.i~se ~ ~~I'a
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on (date or ~]ates) 10-3-2016                                       10-3-2016                                   10-3-2016
                                       I L .~i+n I)                         ~C .aim ll)                 ~               1~'laim II I

V ~TE:          YOLI Il~~l~ IIOt IlQlllZ I1101'~ 0]711 011~ (~t;r~lll~~111[ OI' 11~~~~Z I1101'Z T~1~11 OIIZ C~Llllll. Jf ti'OU ~ll'~ I1~I11I11~, 17;01'   T~11111
                five (~ j ~~Fzndailts, male a copy oFthis pa~~e to provide the inform~~tion for additional defendants.

I . D~fend~ult        L.A.P.D.                                                                                                 resides or ~~orl.s at
                     ~ hill name of first del'~n~l:mt)


                    ( gull a~ldress oC first dcl~e~lclanl)

                      City Official
                     1 ~I~(~nd~n~'~ po i[iun and title. il~~ny)


       The defendant is sued in his/leer (Check one OI' ~Ot~l~:                ~LIICIIVICIU<lI       f i official capacity.

       Explain ho~v this defendant vas acting under color of la~~v:
       The L.A..P.D. Detective "Patrick Flaherty" #32266 voice our speaker of TV
       said 2016 if I told on murderer I'd go free. 1eI declined."

~. Defendant          orris Corporation                                                                                         resides or ~vorl:s at
                    (full name of tu:s[ del'en~i.inll

                      1025 W. Nasa Blvd., Melbourne, Florida 32919.
                    (hill a~l~lr~s, of first ~ef~n~ant)

                      Manufacture of this invasive device..
                    ~I clan~Li~it's ~~usui~m sand Ciflc. it un'~)                         ~'


       T~,~ de[~~nd.~nl i~ ued il~ his/her (Cheel: one or both): Cd'iiZdiviclual                     C ~ ofFcial capacity.

       E~~:pl;: r; Low tl;i~ d~f~nd~int ~va~ actin~~ under color of law:
       They created this device with reckless disregard for the Constitution and
   the abilities such as "seeing thoughts" and `:collecting memories" is clearly
   avio anon o t e            nsti u ion.
3. D~f~ndant City of Los Angeles.                                  resides or work; at
                    (Pull name of IirsCd~f~~iidant)


                    (full ail~lress ol'tirst def~nJ;intj

                      City of Los Angeles.
                    (d~fend,in['s ~~osieiun and tide, ifany)


       Thy dzFen~Jant is sued in leis/her (Chick one or both):                     individual        ~ ]orricial capacity.

       Ez~lsin ho~v this defendant vas actin~~ uncicr color of la~v:
       The city of Los Angeles is responsible for overseeing police misconduct,
       and their misuse of these intrusive devices.




                                                              cn~i~, izicicrsco~ii>i.:~i~~r
 ~,,
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      ~4. Defendant Darnisha Hardman                                                                                  resides or ~~ ork; at
                         ( tu I num~ of hiss c cfcn ~~nt)
                            llTilCC10WC1 J
                        (full ad~IreSs of firsC dcicndantl

                          Civilian/Paid informant.
                         TFcn~ ~u
                           ~»ition anal uTi t any )


            The defendant is sued in his/her(Check one or both): ~ individual                     ❑official capacity.

            Explain how this defendant vas acting udder color of fa~v:
            Ms. Hardmen has been obtaining phone numbers to feed the device and admitted
            this over the phone to me in a mocking way.

      ~. Defei~ilant        Gary Sproull                                                                              resides or ~~vorks at
                        (full nnnle of first defendant)
                          (unlmown)
                        (full address of lust defendant)

                            Civilian/Paid informant.
                        (~I~fen~_I;ui['s position ~n~l title. if ;in}~)


           Tl~e deter~dailr is s~.ied i❑ llis/her (Checl. one or both): ~ individual              ❑ oYticial caE~acity.

           E~:~,I~!in ho;v tL _, d~ ~:.ndant ~~~as acting under color of la~~:
           Mr. S~roull_is_often_used by_ L.A.P.D. as a plant in gang area's to "set us up,"
           in. this Particular _case he tired to engage me in a phone conversation about
           murders.




                                                                    cn ►~ rtcirrs co>ii~t.:~t~T
c~~-s~ ~ ~.~»i                                                                                                                         N.~_~ ~ ,,~~ :,
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ll. CLAIMS'
                                                                              CLAIM I
       The following civil right has been violated:
         The Fourth Amendment protects against invasion of personal privacy, and this
         stingray has been sending intrusive electronic signals into my i~rQnediate vicinity
         for 3 years non-stop, they see actual thoughts/visions in realtime, as well as
         collect memories. They use the micro-waves to invade every personal space a
         target (in the- case me) has. ~er~ ~e ~~C~~~ ~ ~''~q ►+~2 c- IG1 ~'~ iw~ ~„w~ ,~-h ~~y n,y




       5 LI~7~7:~!'TI 11`_ ~ BCf~S' L1U=iLltit; ~1~ ~ I~Ct:i VOU COIl51ClZC IIIl~J01'1~111t. SC~t2 [~l~ fdCCS C~z11'~~', 111 ~'011f 01~~11 \~A.Orris,   and «~IthOut
       chin, lc al au~llorit~- ~ ~,r i~~~~,mei~t. Be certain you describe, in separately n~imbcre~i p~u~a~Traph;, z~acCly ~~~h~it each
       DEFE~JD:ANT (_b~: mine) did to violate your right.
        L.A.P.D_ in 2016 used Gary Sproull to obtain my illegal cellphone number along
        with non-defendants Lameisha Martin and L,aa~~ 5    ~ 'I11e stingray device is
        being used by L.A.P.D. to actually collect my memories and see my thought's/
        actual visions. The stingray as long as I'm in the 2 mile radius will continue
       to invade my privacy, as well as all other's in area. I may not be n_:t~ie~ae~ual
       devices radius but my illegal cellphone was taken 10-3-2016 and I'm still at the
       prison where they targeted the phone. Darnisha Hardmen admitted the had this on
       on my life.




       ~It'tlz~~•~ is n~or~: tF~uri orz~ clai~rz, d~s•cribc~ the nddiliorzal, clain~r(sJ o~1 a~~olher c~~tc~~h~~c~pi~c~~ of~j~al~er tisirz~ the scinr,~
       outlir~~~.


                                                                     CIV'll. RlGfll'~ CO~IPI_,AfV"f
l~~'-~tt1 (i~ 9i1                                                                                                                                              ~'..r_~' ~ of n
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 E. ac~ursT Boa a~LrEF
      f believe that (any entitled to the follo~~vin~ specific relief:
       'Itie relief I'm seeking is that (L.A.P.D.) end their illegal invasion of my life,
        admit to the public that they've spoofed my identity and has put my life in
       jeapardy with countless people; and that the Court order them to pay me in
       monetary damages $20,000,000 ('Itaenty Million Dollars).


       As to (Harris Corporation), I'm seeking that they become more involved with
       Police Departments using their devices so that the possibilities are limited
       for these devices capabilities to be misused by police on us civilians, and
       that the Court order them to pay me in monetary damages $20,000,000 ('Itaenty
       Million Dollars).


      As to Citv of Los Angeles and civilians named as defendants. I seek only that
      Los Angeles displine the L.A.P.D. and that they create guidelines for these
      devices; and the "paid informant's" I seek only that they are no longer able to
      use the L.A.P.D. or and police department in the U.S.A. as a security jacl~et.




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                                                                                                                                  PRISON GENERATED MAIL                                .~,~ ";;~     U.S.POSTAGE~~~rNEvsowEs
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                                                                              Mule Creek Stag Prison                              M ule Creek State Prison                            ìce'     ~ .i ~/-'z
                                                                                                                                                                                                       . ~.i    C~.
                                                                              Name: 1.           ~ ~~ ~-                          P.O. Box 409099                                                             ~~
                                                                                                                                                      ~`~~~ ~~                        ~'- '~•      ~ ZIP 95640 $ 000.500
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                                                                                                        Cell ~"`T~                            r;       U.S. pISTR1CT                                 0000338561NOV 14 2019
                                                                              Facility_.T Building 3                                           C~e~.____--                      .t
                                                                              P.O. Box~~~
                                                                              lone, CA 95640                                                           c~u~ ~ 2019
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                                                                              CALIFORNIA DEPARTMENT OF CORRECTIONS
                                                                              AND REHABILITATION INDIGENT INMATE MAIL
                                                                                                                                  ~ c~ iSi~" ~%~ CC~V~1iT
                                                                                                                                  C~~    ~ ~
                                                                                      Facility Post Office Boxes
                                                                               Facility A             P.O. Box 409020
                                                                               Facility B          P.O. Box 409040                    Lg 1 C~                  loo i ~~-
                                                                               Facility C          P.O. Box 409060
                                                                               Facility D          P.O. Box 409089
                                                                               Facility E          P.O. Box 409090
                                                                               Facility Minimum    P.O. Box 409000
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 U NAUTHORIZED ITEMS WITHIN INMATE MAIL
 Mail containing any of the following items will be disallowed:
 • Padded envelopes or cardboard containers.
• Cardstock, sketch pads, construction paper or
                                                      colored paper.
• Musical greeting cards, videos, CD's or Cassette
                                                         tapes.
• Cash, pens, pencils or markers.
• Identification cards, credit cards, bank cards,
                                                     phone cards, etc.
• Polaroid photographs, negatives, slides or photo albums.
                                                                  Photos depiding drugs and/or drug
    paraphernalia. Photos, drawings, magazine articles, and/or
                                                                     pictorials displaying frontal nudity of    AUTHORIZED ITEMS WITHIN INMATE MAIL
    either gender are not allowed. Nothing that depicts displays,
                                                                      or describes sexual penetration or        I ncoming mail must weigh less than 13 ounces.
    sexual acts will be allowed.
• Gang affilliated material, hand gestures or signs.                                                           • 40 postage stamps/pre-stamped envelopes.
• Clothing, food, hard plastic, metal, wood items,                                                             • Letters.
                                                       magnets, rubber, stickers glue or glitter.
• Tattoo patterns or tracing patterns. No jewelry will                                                         • Greeting cards.
                                                          be allowed.
• Mail containing any unknown substance, powder,                                                               • Photographs(no larger than 8"x10")
                                                         liquid, or solid.
• Lipstick, perfume, cologne, or scent of any kind.                                                            • Checks/Money orders with inmate's name and CDCR#.
   Anything deemed a threat to the safety and security of                                                      • Writing Paper (white/yellow lined only).
                                                               the Institution, or any correspondence
   deemed circumvention of mail policies and procedures                                                        • Publications (books, magazines, newspapers) MUST come
                                                              .                                                                                                              directly from vendor.
   Mail that does not have a full rata;n address.                                                              • For funds to be mailed directely to inmate's account, send through
                                                                                                                                                                                     www.jpay.com or
                                                                                                                   (300)57~]-5729_
                                                                                                                                                                                                       Case 2:19-cv-09906-PA-SHK Document 1 Filed 11/19/19 Page 8 of 8 Page ID #:8
